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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,             :
                                       :
                            Plaintiff, :
                                       :                        Criminal No. 11-23 (SRC)
                 v.                    :
                                       :                                  ORDER
 NELSON OTERO and MAXCIME              :
 CAGAN,                                :
                                       :
                         Defendants. :
                                       :

CHESLER, District Judge

        This matter having come before the Court on the motion filed by pro se Defendant Nelson

Otero ("Otero") for a judgment of acquittal pursuant to Federal Rule of Criminal Procedure 29(c)

[docket entry 92]; and Plaintiff the United States of America having opposed the motion; and the

Court having considered the papers filed by the parties; and for the reasons expressed in the

Opinion filed herewith;

        IT IS on this 8th day of June, 2012,

        ORDERED that Defendant Otero's motion for judgment of acquittal [docket entry 92] be

and hereby is DENIED.



                                                 s/Stanley R. Chesler
                                                STANLEY R. CHESLER
                                                United States District Judge
